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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES – GENERAL

 Case No: SA CV 23-00257-DOC-JDEx                                  Date: April 13, 2023

 Title: LDR International Limited v. Sara Jaqueline King, et al.



PRESENT: THE HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

            Karlen Dubon                                      Court Smart
           Courtroom Clerk                                   Court Reporter

       ATTORNEYS PRESENT FOR                            ATTORNEYS PRESENT FOR
             PLAINTIFF:                                      DEFENDANT:
           Ronald N. Richards                                No Appearance
            Geoffrey S. Long


 PROCEEDINGS:                 STATUS CONFERENCE

 The case is called. The Court and counsel confer.

 The Court’s order setting scheduling conference to issue.




                                                                                    :     08
                                                                    Initials of Deputy Clerk: kdu
